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                             Columbia , Moi
             GENERAL ORDINANCES, ete .
                                1
                               OF THE




        TOWN OF COLUMBIA ,
                                    IN




             BOONE COUNTY, MISSOURI ,

        REVISED, PUBLISHED AND PROMULGATED BY
            AUTHORITY OF THE BOARD OF TRUS
                  TEES OF SAID TOWN, IN
                         THE YEAR 1890.




                    TO WHICH ARE APPENDED



        THE PROVISIONS OF THE STATE CONSTITUTION RE
          SPECTING MUNICIPAL CORPORATIONS ; ALSO THE
                GENERAL AND SPECIAL CHARTERS
                       OF SAID TOWN .




               REVISED BY LEWIS M. SWITZLER.




                          COLUMBIA , MO .:
                  STATESMAN BOOK AND JOB OFFICE PRINT.
                                18.90 .



                                                         27
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            34                 GENERAL ORDINANCES .

            or spirituous liquors, or any composition of which fer
            mented, vinous or spiritous liquors form a part. Provided,
            that this section shall not be so construed as to prevent
            any druggist from selling or giving away , in good faith ,
            wine for sacramental purposes, or alcohol for art, mechan
            ical or scientific purposes on the applicant therefor, and
            seller thereof, complying with the laws of this state in such
            case made and provided ; nor to prevent the selling or
            giving away , by druggists of alcohol, or intoxicating
            liquors, on a written prescription, ( lated and signed, first
            had and obtained from some regularly registered and
            practising physician, and then only when such physician
            shall state in such prescription the name of theperson
            for whom the same is prescribed and that such intoxicat
            ing liquor is prescribed as a necessary remedy in such
            case .
                 Sec. 159. Any person who shall sell or give away, to
            any person already intoxicated, any intoxicating liquor
            shall be deemed guilty of a misdemeanor and be fined if
            a druggist selling or giving away on prescription, not less
            than twenty -five dollars ; if any other person, not less
            than forty dollars.
                Passed May 22, 1890.


                                  CHAPTER XVII .

            CARRYING CONCEALED WEAPONS-FIRING GUNS, PISTOLS,
                                FIRE CRACKERS, ETC.
                Be it ordained by the Board of Trustees of the Town of
            Columbia as follows:
                Sec . 160. Any person who shall fire or discharge, or
            who shall cause the same to be done by any person under
            his authority or control, any gun, pistol, cannon, anvil, or
            any device or contrivance, charged with any explosive,
            shall be deemed guilty of a misdemeanor and on convic.
            tion be fined not less than ten dollars for each offense.
                Sec . 161. Any person who shall ignite or explode
            any explosive compound, or suffer the same to be done by
            any person under his control, or who shall fire, or cause
            to be fired or exploded, or suffer the same to be done by
            aliy person under his control, any fire cracker, or crack
            ers, Roman candles, rockets, torpedoes, squibs, or any
            other kind of fireworks whatever, shall be deemed guilty
            of a misdemeanor and on conviction be fined not less than
            five dollars for each offense .
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                           GENERAL ORDINANDES .                  35


              Sec. 162. Any person who shall be guilty of carrying
         concealed upon or about his person any pistol, bowie
         knife, dirk , dagger, slung shot, or other deadly or danger
         ous weapon, shall be deemeil guilty of a misdemeanor, and
         upon conviction shall be fined not less than twenty -five
         nor more than one hundred dollars for every such offense.
              Sec. 163. Any person who shall go into any church ,
         or place where people have assembled for religious wor
         ship ; or into any school room, or place where people are
         assembled for educational, literary or social purposes ;
         or into any court room, during the sitting of court, or to
         any election precinct on any election day ; or into any
         other public assemblage of persons met for any lawful
         purpose, other than for military drill, or meetings, called
         under the militia laws of this state, carrying concealed
          or in sight upon or about his person, any fire arms or
          other deadly or dangerous weapon, shall be deemed
         guilty of a misdemeanor, and upon conviction shall be
         fined not less than one hundred nor more than one hun .
         dred and fifty dollars for ever such offense.
             Sec. 164.    Any person who shall be guilty of exhibit
         ing any fire arms, or other deadly or dangerous weapon
         in a rude, angry, or threatening manner; or who shall
          carry any such weapon upon or about his person when
         intoxicated or under the influence of intoxicating drinks,
         shall be deemed guilty of a misdemeanor, and shall upon
         conviction be fined not less than fifty dollars for every
         such offense .
              Provided, that the three last preceding sections shall
         not apply to police officers, nor to any officer whose duty
         it is to execute process or warrants, or to suppress
         breaches of the peace, or make arrests, nor to any posse
         when lawfully summoned and on duty ; nor shall sec
         tion 162 apply to persons moving or traveling peaceably
         through the state.
             Passed May 22, 1890 .
